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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               AT BOWLING GREEN

UNITED STATES OF AMERICA                                                               PLAINTIFF


vs.                                             CRIMINAL ACTION NO. 1:17-CR-00036-GNS
                                                                      Electronically Filed


DANNY P. BUTLER                                                                     DEFENDANT



                                  ORDER OF RESTITUTION


       Defendant, Danny Butler, having a pleaded guilty on December 7, 2018, and this Court

being sufficiently advised;

       IT IS HEREBY ORDERED as follows:

       1.      The Defendant is sentenced and ordered to pay restitution in the amount of

$1,293,072.84. The Defendant is also required to pay a Special Penalty Assessment in the amount

of $500.00.

       2.      Restitution is due in the shortest time period possible, and not withstanding any

other provision of this Restitution Order, the United States may enforce restitution at any time.

       3.      If incarcerated, and the Defendant participates in the Bureau of Prisons’ Inmate

Financial Responsibility Program, payments shall be made in accordance with the terms of the

program. If restitution is not paid in full and if the Defendant is not incarcerated or following any

term of incarceration, Defendant shall make restitution payments of not less than the amount of

the Defendant’s “non-exempt disposable earnings,” as that term is defined in 28 U.S.C. § 3002(9).

Defendant will be added to the Treasury Offset Program.
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         4.    Interest shall not accrue as provided in 18 U.S.C. § 3612(f) and is hereby waived.

         5.    The victims’ names, addresses, and total losses are as follows:

                   VICTIM                              ADDRESS                    AMOUNT OF
                                                                                    LOSS
  Estate of L.A.                            TO BE PROVIDED BY USAO               $148,106.18
  Estate of L.P.                            TO BE PROVIDED BY USAO               $13,535.67
  B.M.                                      TO BE PROVIDED BY USAO               $401,500.00
  D.M.                                      TO BE PROVIDED BY USAO               $35,257.22
  Estate of D.B.                            TO BE PROVIDED BY USAO               $216,408.65
  J.R.B.                                    TO BE PROVIDED BY USAO               $69,429.06
  Estate of E.U.                            TO BE PROVIDED BY USAO               $69,429.06
  Estate of E.M.                            TO BE PROVIDED BY USAO               $25,000.00
  J.W.S.                                    TO BE PROVIDED BY USAO               $38,429.06
  E.S.                                      TO BE PROVIDED BY USAO               $25,000.00
  Estate of L.P.M.                          TO BE PROVIDED BY USAO               $125,000.00
  T.L.                                      TO BE PROVIDED BY USAO               $12,500.00
  Kentucky Bar Association Clients’         Kentucky Bar Association             $113,477.94
  Security Fund                             514 West Main Street
                                            Frankfort, KY 40601
  Total Amount                                                                   $1,293,072.84


         6.    Certain victims identified above have received payment for a portion of his/her/its

loss from the Kentucky Bar Association Clients’ Security Fund. Specifically, the following

victims have received payments:



         VICTIM             AMOUNT PAID

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 Estate of L.P.             $16,451.40

 D.M                        $14,742.78

 Estate of D.B.             $20,570.94

 J.R.B.                     $20,570.94

 Estate of E.U.             $20,570.94

 J.W.S.                     $20,570.94

 Total Amount               $113,477.94



The amount of loss for these victims has been reduced by the amount paid to each by the Kentucky

Bar Association Clients’ Security Fund, respectively.

          7.      All restitution of victims set forth above shall be paid to the victims before any

restitution is paid to the Kentucky Bar Association.

          8.      The amount of restitution paid to any victim shall not exceed the victim’s total loss

from the offense of conviction.

          9.      All payments must be made to the United States District Court Clerk, Gene Snyder

Courthouse, 601 West Broadway, First Floor, Louisville, KY 40202.

          10.     As long as the Defendant owes restitution, the Defendant shall notify, within 30

days, the Clerk of the Court and the United States Attorney’s Office, Financial Litigation Unit,

717 W. Broadway, Louisville, KY, 40202, of: (a) any change of name, residence, or mailing

address; and/or (b) any material change in economic circumstances.

          11.     This Restitution Order is pursuant to 18 U.S.C. § 3664 and shall be incorporated

into the Judgment and Conviction as if set out verbatim therein.


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                                                     March 21, 2019




cc:
Aleda Thomas
United States Probation Officer
Bowling Green, KY
Phone: (270) 495-6410

Financial Clerk
United States District Court Clerk




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